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10

11
                               IN THE UNITED STATES DISTRICT COURT
12                       NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
13 CALIFORNIA COALITION FOR WOMEN
   PRISONERS; et. al.,
14                                                            CASE NO. 4:23-CV-04155-YGR
                    Plaintiffs
15            v.
16 UNITED STATES OF AMERICA FEDERAL                           UNITED STATES’ UNOPPOSED REQUEST
   BUREAU OF PRISONS; et. al.,                                TO STAY CONSIDERATION OF
17                                                            BELLHOUSE’S MOTION TO COMPEL
                Defendants.
18

19            Pursuant to Magistrate Judge Tse’s Order (Dkt. 421), the United States respectfully responds to
20 the pro se “Motion to Compel” filed by John Bellhouse in the following seven cases: 22-cv-8924-YGR

21 (Dkt. 94); 22-cv-9096-YGR (Dkt. 79); 23-cv-2668-YGR (Dkt. 52); 23-cv-5356-YGR (Dkt. 55); 23-cv-

22 4155-YGR (Dkt. 416); 24-cv-1980-YGR (Dkt. 31); and 24-cv-1360-YGR (Dkt. 37).

23            Bellhouse moves to compel “both the Federal Bureau of Investigation (FBI) and the Federal
24 Bureau of Prisons (BOP) to produce previously requested Freedom of Information Act (FOIA)

25 documents, requested in accordance with Title 5 U.S.C. § 552.” (23-cv-4155-YGR (Dkt. 416 at 1).) He

26 states that the “time [] period to produce requested documents has exceeded the 20 days both agencies

27 had to respond.” (Id.) The Court requested that the Government respond to this motion by November 6,

28 2024. (23-cv-4155-YGR (Dkt. 421).)

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 1            By way of background, the United States Attorneys’ Offices for the District of Montana and the

 2 District of Oregon represent the Federal Bureau of Prisons in the seven cases listed above in which John

 3 Bellhouse is a pro se individual defendant and in which he filed the Motion to Compel. However,

 4 neither Office has been assigned to represent Bellhouse in his individual capacity and neither has been

 5 assigned to represent the BOP or the FBI in response to Bellhouse’s FOIA requests. Indeed, FOIA

 6 requests do not come within the purview of U.S. Attorneys until the party seeking information exhausts

 7 administrative remedies and files a FOIA complaint in an appropriate district court against the federal

 8 agency allegedly withholding records in violation of FOIA. See 5 U.S.C. § 552(a)(4)(B); In re Steele,

 9 799 F.2d 461, 465–66 (9th Cir. 1986). Here, the undersigned provides the following additional

10 information per the request of the Court.

11            Bellhouse appears to have submitted a request to the FBI on or about May 14, 2024, requesting:

12 “a copy of any/all information on file pertaining to myself, and to the FBI criminal investigation into the

13 Federal Correction Institution (FCI Dublin) Dublin women’s prison in Dublin, CA 94 568; and any/all

14 Form 302 interviews concerning the investigation into myself and others, which led to my criminal

15 conviction.” (23-cv-4155-YGR (Dkt. 416 at 5.)) The FBI received this request on or about May 23,

16 2024. (Exhibit A.) That same day, the FBI responded to Bellhouse acknowledging receipt of his request

17 and informing him that the Bureau had assigned his request a FOIPA number. (Exhibit B.) However, his

18 “letter did not contain sufficient information to conduct an accurate search of the Central Records

19 System,” and was closed pending resubmission of additional information. (Id.) The letter advised

20 Bellhouse of the administrative procedures he must exhaust prior to filing suit under FOIA. (Id. at 2.)

21            It also appears accurate that Bellhouse submitted a request to the BOP on or about June 10, 2024,

22 requesting copies of: “any/all tort claims (FTCA) that were filed against me during the period of:

23 06/01/2018 to current date, 2024; Special Investigative Services (S.I.S.) Investigation Reports and

24 Memorandums concerning myself, from the same time period as listed above; and a copy of all

25 Groupwise emails concerning myself from the same time period as listed above.” (Dkt. 416 at 3.) The

26 BOP received this request on or about June 24, 2024. (Exhibit C.) On June 28, 2024, the BOP responded

27 to Bellhouse acknowledging receipt of his request. (Exhibit D.) BOP informed him that “unusual

28 circumstances exist as the documents responsive to [his] request must be searched for and collection

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 1 from a field office and will require significant time to review.” BOP stated further that, “Processing

 2 complex requests may take up to nine months. In accordance with 28 C.F.R. § 16.5(b) and (c), you may

 3 narrow or modify your request in an effort to reduce the processing time.” (Id.) This letter also notified

 4 Bellhouse of the option to contact the BOP’s Central Office, the BOP’s FOIA Public Liaison, and the

 5 Office of Government Information Services (OGIS) at the National Archives and Records

 6 Administration to inquire about the FOIA mediation services they offer. (Id. at 2.)

 7            Importantly, discovery is currently stayed in all related FCI Dublin damages cases, including in

 8 all cases in which Bellhouse has been named an individual defendant. This stay is in effect through

 9 November 30, 2024. (22-cv-5137-YGR (Dkt. 256).)

10            On Friday, November 1, 2024, the undersigned advised Bellhouse that discovery in his active

11 civil cases has been stayed since their respective dates of filing through the end of November. (Mattioli

12 Declaration, ¶ 3.) Bellhouse expressed concern that he could not follow his cases because he does not

13 have PACER access in prison. (Id. at ¶ 4.) But the only case in which discovery has not been stayed is

14 the injunctive class action, a case in which Bellhouse is not an active participant. Because of this, he has

15 not been served with copies of filings in that action. (Id. at ¶ 5.) As far as access to Court Orders, the

16 docket reflects that the Clerk’s Office updated Bellhouse’s address to the Federal Correctional

17 Institution in Oakdale, LA, on October 24, 2024. Accordingly, Bellhouse should receive copies of Court

18 Orders going forward. The U.S. Attorney’s Office agreed to provide updates to Bellhouse and the Court

19 regarding the status of his FOIA requests, and, to help him understand and review the activity in his

20 cases, agreed to provide him copies of the docket sheets in each of his active civil cases. (Id. at

21 ¶¶ 6–10.) These documents were mailed along with a copy of this filing to Bellhouse at the FCI in

22 Oakdale, LA, via First Class Mail on November 6, 2024. (Id. at ¶ 15.)

23            In light of the foregoing, Bellhouse does not oppose the government’s request that this Court stay

24 consideration of Bellhouse’s motion to compel until the stay of the cases has been lifted. (Id. at ¶ 11.) If

25 the issue remains live at that point, the parties agree to file a joint statement in accordance with this

26 Court’s Civil Standing Order. (Id. at ¶ 12.)

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 1            Dated this 6th day of November, 2024.

 2

 3                                                      JESSE A. LASLOVICH
                                                        United States Attorney
 4

 5                                                      /s/ Madison L. Mattioli
                                                        MADISON L. MATTIOLI
 6                                                      Assistant U.S. Attorney
 7
                                                        NATALIE K. WIGHT
 8                                                      United States Attorney
 9

10                                                      /s/ Patrick J. Conti
                                                        PATRICK J. CONTI
11                                                      Assistant U.S. Attorney
12                                                      Acting Under Authority Conferred by 28 U.S.C. § 515

13                                                      Attorneys for United States

14

15
                                                        JOHN R. BELLHOUSE
16

17
                                                        /s/ Signature on Separate Page
18                                                      JOHN RUSSELL BELLHOUSE
                                                        Appearing Pro Se
19

20                                                      Defendant.

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                     Dated this __ th day of November, 2024.
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  YO




                                                            JESSE A. LASLOVICH
  WO




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  FPF
  A




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                                                            PATRICK J. CONTI
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                                                            Assistant U.S. Attorney
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      NY




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      WO
      FF




                                                            JOHN R. BELLHOUSE
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                                                            ‘Appearing Pro Se
      BH
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                                                            Defendant.
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            U.S.’ RESPONSE TO BELLHOUSE MTN TO COMPEL

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 1                                                  CERTIFICATE OF SERVICE
 2                       I hereby certify that a copy of the foregoing was placed within a first-class postage
 3
     prepaid envelope, marked LEGAL MAIL OPEN ONLY IN PRESENCE OF INMATE and deposited in
 4
     the United States Mail within the offices of the United States Attorney or at a United States Post Office
 5
     according to established office practice at Helena, Montana, on November 6, 2024 addressed to:
 6

 7            John R. Bellhouse
              FRN 76806-509
 8            Federal Correctional Institution
              P.O. Box 5000
 9            Oakdale, LA 71463
10
              I declare under penalty of perjury under the laws of the United States of America that the
11
     foregoing is true and correct.
12
              Executed this day, November 6, 2024, in Helena, Montana.
13
                                                                      /s/ Madison L. Mattioli____
14
                                                                      MADISON L. MATTIOLI
15                                                                    Assistant U.S. Attorney

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     U.S.’ R ESPONSE TO B ELLHOUSE MTN TO C OMPEL

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